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Attorneys for Plaintiffs

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------   X
CYNTHIA SIMEONE, TAKISHA JONES,                           :
and PHYLLIS CHARNEY, individually and                     :
on behalf of all others similarly situated,               : CASE NO.
                                                          :
                      Plaintiffs,                         :
                                                          :
v.                                                        :     CLASS ACTION COMPLAINT
                                                          :
T. MARZETTI COMPANY,                                             JURY TRIAL DEMANDED
                                                          :
                                                          :
                      Defendant.
                                                          X
-------------------------------------------------------


          Plaintiffs Cynthia Simeone, Takisha Jones, and Phyllis Charney (hereinafter

 “Plaintiffs”), individually and on behalf of all others similarly situated, by their attorneys, allege

 the following upon information and belief, except for those allegations pertaining to each

 Plaintiff, which are based on personal knowledge, against T. Marzetti Company (hereinafter

 “Defendant” or “Marzetti”):

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                                     NATURE OF THE ACTION

          1.       This is a class action lawsuit brought on behalf of all purchasers of New York

    Bakery’s Texas Toast products including, Ultimate Garlic, Real Garlic, Five Cheese, and Real

    Parmesan (the “Products”), sold at retail outlets and grocery stores throughout the State of New

    York. Plaintiffs seek damages, restitution, and injunctive relief on behalf of a New York class

    of consumers who within the last three years purchased the Products which were falsely labeled

    and advertised as having “No Preservatives” despite containing the preservative citric acid.

          2.       Marzetti is a billion-dollar company 1 whose unlawful and unfair business practice

    of falsely labeling and advertising its Products as “No Preservatives” deceives consumers and

    stifles competition. True and correct images of the Product packaging and advertising are

    depicted infra as Figures 1-5.

Figure 1.




1
  See Lancaster Colony Corporation 2020 Annual Report,
http://www.lancastercolony.com/investors/sec-filings-and-annual-reports/annual-
reports/default.aspx (last visited November 3, 2021).

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Figure 2.




                                      3
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Figure 3.




                                      4
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Figure 4.




                                      5
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Figure 5.




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          3.       The average consumer spends only 13 seconds to make an in-store purchasing

    decision. 2 That decision is heavily based upon the product’s front labeling. Based on its front

    label, reasonable consumers believe that the Products are free of preservatives, and would not

    know that the Products actually contain a preservative.

          4.       Consumers are deceived by Defendant’s labeling and advertising of the Products

    as containing “No Preservatives,” believing that they are purchasing a preservative-free

    product.

          5.       Marzetti’s profits are attributable, in part, to deceptive labeling and advertising

    of the Products as containing “No Preservatives.” In reality, the Products contain the well-

    documented preservative, citric acid.



2
 http://www.nielsen.com/us/en/insights/news/2015/make-the-most-of-your-brands-20-second-
windown.html (citing the Ehrenberg-Bass Institute of Marketing Science’s report “Shopping
Takes Only Seconds…In-Store and Online”).

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      6.       Consumers rely on Defendant’s labeling and advertising of the Products as

containing “No Preservatives” to be truthful and would not know that the Products actually

contain a preservative.

      7.       Reasonable consumers such as Plaintiffs do not have specialized knowledge

necessary to identify ingredients in the Products as being inconsistent with Defendant’s

advertised claim of “No Preservatives.”

      8.       Defendant knows that consumers are willing to pay more for foods that are

labeled as containing “No Preservatives” because they perceive it to be a healthier alternative

to similar products without the “No Preservatives” label, and advertises the Products with the

intention that consumers rely on the representation made on the front of the Products’ packaging

that the Products have “No Preservatives.”

      9.       By falsely labeling the Products as having “No Preservatives,” Defendant has

profited from consumers’ preference for food products that are perceived to be healthier or

made free of preservatives.

                                             PARTIES

      10.      Plaintiff Cynthia Simeone (“Plaintiff Simeone”) is, and at all times relevant

hereto was, a citizen of New York. Plaintiff Simeone purchased Defendant’s Five Cheese Texas

Toast and Ultimate Garlic Texas Toast at a Stop & Shop store in Hyde Park, New York in

November 2020. In making her purchase, Plaintiff Simeone relied upon the claims made on the

front label of the Products, including the “No Preservatives” claim, which was prepared and

approved by Defendant and its agents and disseminated statewide and nationwide, as well as

designed to encourage consumers to purchase the Products. If Plaintiff Simeone had known that

the Products actually contained preservatives, she would not have purchased the Products, or




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would have paid significantly less for the Products. Plaintiff Simeone intends and desires to

purchase the Products again in the future as labeled (i.e., “No Preservatives”), but will not have

the specialized knowledge necessary to know whether the Products are truthfully labeled.

      11.     Plaintiff Takisha Jones (“Plaintiff Jones”) is, and at all times relevant hereto was,

a citizen of New York. Plaintiff Jones purchased Defendant’s Texas Toast with Real Garlic at

a Target store in Yonkers, New York in August 2021. In making her purchase, Plaintiff Jones

relied upon the claims made on the front label of the Product, including the “No Preservatives”

claim, which was prepared and approved by Defendant and its agents and disseminated

statewide and nationwide, as well as designed to encourage consumers to purchase the Products.

If Plaintiff Jones had known that the Products actually contained preservatives, she would not

have purchased the Product, or would have paid significantly less for the Product. Plaintiff

Jones intends and desires to purchase the Products again in the future as labeled (i.e., “No

Preservatives”), but will not have the specialized knowledge necessary to know whether the

Products are truthfully labeled.

      12.     Plaintiff Phyllis Charney (“Plaintiff Charney”) is, and at all times relevant hereto

was, a citizen of New York. Plaintiff Charney purchased Defendant’s Parmesan Texas Toast,

Texas Toast with Real Garlic, and the Ultimate Garlic Texas Toast at a Gristedes store, Ideal

Market store, and/or Key Food store in New York, New York before and during 2019-2020. In

making her purchase, Plaintiff Charney relied upon the claims made on the front label of the

Products, including the “No Preservatives” claim, which was prepared and approved by

Defendant and its agents and disseminated statewide and nationwide, as well as designed to

encourage consumers to purchase the Products. If Plaintiff Charney had known that the Products

actually contained preservatives, she would not have purchased the Products, or would have




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paid significantly less for the Products. Plaintiff Charney intends and desires to purchase the

Products again in the future as labeled (i.e., “No Preservatives”), but will not have the

specialized knowledge necessary to know whether the Products are truthfully labeled.

      13.     T. Marzetti Company is a corporation headquartered in Westerville, Ohio and

maintains its principal business office at 380 Polaris Parkway, Suite 400, Westerville, OH

43082. Marzetti directly and through its agents, has substantial contacts with and receives

substantial benefits and income from and through the State of New York. Marzetti is one of

the owners, manufacturers, and distributors of the Products, and is one of the companies that

created and/or authorized the false, misleading, and deceptive packaging for the Products.

                                    JURISDICTION AND VENUE

      14.     This Court has subject matter jurisdiction under the Class Action Fairness Act,

28 U.S.C. section 1332(d) in that: (1) this is a class action involving more than 100 class

members; (2) Plaintiffs are citizens of the State of New York, Defendant T. Marzetti Company

is a citizen of the State of Ohio; and (3) the amount in controversy is in excess of $5,000,000,

exclusive of interests and costs.

      15.     This Court has personal jurisdiction over Defendant because Defendant conducts

and transacts business in the State of New York, contracts to supply goods within the State of

New York, and supplies goods within the State of New York.

      16.     Venue is proper in this Court because Plaintiffs and many Class Members reside

in the Southern District of New York, and throughout the State of New York. A substantial part

of the events or omissions giving rise to the classes’ claims occurred in this District.

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                                        FACTUAL ALLEGATIONS

                            The Products Contain the Preservative Citric Acid

          17.     Defendant advertises and displays on the front of the Product that it contains “No

    Preservatives,” thereby misleading reasonable consumers to believe that the Products are free

    of preservatives. However, the Products contain a well-documented preservative, citric acid.

          18.     The Food and Drug Administration (“FDA”) defines a chemical preservative as

    “any chemical that, when added to food, tends to prevent or retard deterioration thereof, but

    does not include common salt, sugars, vinegars, spices, or oils extracted from spices, substances

    added to food by direct exposure thereof to wood smoke, or chemicals applied for their

    insecticidal or herbicidal properties.” 21 C.F.R. §101.22(a)(5).

          19.     The FDA classifies citric acid as a preservative in its Overview of Food

    Ingredients, Additives, and Colors, on the FDA’s website and provides examples of uses of
                                                                  3
    preservatives like citric acid, including, in frozen foods.       Specifically, the FDA elaborates

    under its “What They Do” section, that preservatives, among other things, help “prevent food

    spoilage from bacteria, molds, fungi or yeast (antimicrobials); slow or prevent changes in color,

    flavor, or texture and delay rancidity (antioxidants); [and] maintain freshness.” Id.

          20.     In the same section, immediately infra, the FDA also provides “[e]xamples of

    uses” for preservatives, like citric acid, such as in “oils and margarines.” Id. The citric acid in

    the Products is contained in the margarine type spread found on the frozen bread.

          21.     Citric acid’s classification as a preservative is further confirmed by a Warning

    Letter sent by the FDA to the manufacturer of Chiquita brand “Pineapple Bites with Coconut”



3
  See FDA website,
https://www.fda.gov/Food/IngredientsPackagingLabeling/FoodAdditivesIngredients/ucm094211
.htm (last visited November 3, 2021).

                                                    11
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    and “Pineapple Bites,” in which the FDA proclaimed the “Pineapple Bites” and “Pineapple

    Bites with Coconut” products are further misbranded within the meaning of Section 403(k) of

    the Act [21 U.S.C. 343(k)] in that they contain the chemical preservative ascorbic acid and citric

    acid but their labels fail to declare these preservatives with a description of their functions. 21

    CFR 101.22.” 4

           22.     Citric acid’s ability to chelate, or form compounds containing a ligand bonded to

    a central metal atom at two or more points, with other chemical compounds allows citric acid

    to stabilize active ingredients. 5 Citric acid stabilizes the active ingredients 6 in the Products and

    thus is a preservative in the Products.

           23.     In addition, citric acid has been found to have antimicrobial properties against

    some bacteria and mold. 7

           24.     Citric acid is a preservative in the Products regardless of the subjective purpose

    or intent for why Defendant added citric acid to the Products, including, as a flavoring agent.

    As the FDA states, a preservative like citric acid “when added to food, tends to prevent or retard

    deterioration thereof […].” (Emphasis added).

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4
  See FDA label compliance website,
https://www.fdalabelcompliance.com/letters/ucm228663 (last visited November 3, 2021).
5
  National Center for Biotechnology Information. PubChem Database. Citric acid, CID=311,
https://pubchem.ncbi.nlm.nih.gov/compound/Citric-acid (last visited November 3, 2021).
6
  Citric Acid, https://pubchem.ncbi.nlm.nih.gov/compound/Citric-acid (last visited on November
3, 2021).
7
  Branon, et al. 2002 Food Additives, 2nd edition, pages 591. Marcel Dekker, NY NY.

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           25.    Even if citric acid can be used as a flavoring agent in the Products, a greater

    amount of citric acid is needed to act as a flavoring agent than to preserve the Products because

    citric acid acts as a preservative even if very low levels are contained in the Products. 8

           26.    The quantity of citric acid therefore needed to affect the flavor of the Products is

    more than sufficient to function as a preservative.

           27.    Citric acid in frozen foods, like in the Products, functions as a preservative

    through its chelating and acidic properties that enhance the action of antioxidants and inactivate

    naturally present enzymes which could cause undesirable browning and loss of flavor. 9 Citric

    acid serves these functions regardless of whether it is also being used as a flavorant. 10

           28.    Food and beverage manufacturers, like Defendant, seek to provide consumers

    with products that are palatable within a given shelf life. To help ensure this, manufacturers

    impose many hurdles to degradation when formulating a product. Therefore, if an ingredient

    has a preservative effect, like citric acid, it is considered a preservative because it acts as a

    hurdle to food degradation regardless of whether it was added to the Products for other

    reasons. 11



8
  See Doores, S., 1993. Organic acids. In: Davidson, P.M., Branen, A.L. (Eds.), Antimicrobials in
Foods. Marcel Dekker, Inc., New York, pp. 95-136.
http://base.dnsgb.com.ua/files/book/Agriculture/Foods/Antimicrobials-in-Food.pdf (last visited
November 3, 2021).
9
  Kirk-Othmer Food and Feed Technology, Volume 1, p. 262 (John Wiley and Sons, 2007);
Barrett, et al. “Direct Food Additives in Fruit Processing,” in Processing Fruits: Science and
Technology, Second Edition, Diane M. Barrett, Laszlo Somogyi, and Hosahalli S. Ramaswamy,
eds., p. 302 (CRC Press, 2004); Abhd-Elhady, “Effect of citric acid, calcium lactate and low
temperature prefreezing treatment on the quality of frozen strawberry,” Annals of Agricultural
Sciences, 59:69-75 (2014).
10
   See Deman, John M. “Acids as food additives serve a dual purpose, as acidulants and as
preservatives.” Principles of food chemistry. AVI Publishing Co., Inc., 1999, p. 438.
11
   See Biesta-Peters, E., et al. Comparing Nonsynergistic Gamma Models with Interaction
Models To Predict Growth Of Emetic Bacillus Cereus When Using Combinations Of Ph And



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       29.     Citric acid, is not only a preservative, but also imparts artificial flavor. While

citric acid is naturally found in fruits and vegetables, the citric acid found in processed foods,

like the Products, is artificial or manufactured citric acid (“MCA”) that has gone through

extensive chemical processing. 12

       30.     MCA is created through Aspergillus niger fermentation. Aspergillus niger is a

common black mold that grows on decomposing starchy fruits and vegetables. It is chemically

processed by being fed sugars, such as glucose and sucrose, which then creates a citric acid

solution, that is then filtered and processed for use in final form. As it grows, Aspergillus niger

excretes large amounts of citric acid, 13 thereby making it an industry favorite among food and

beverage manufacturers. In fact, Aspergillus niger remains the world’s primary method for

creating MCA. 14

       31.     MCA—through the Aspergillus niger process—is used extensively in the food,

beverage, chemical, and pharmaceutical industries 15 due to its ease of handling, ability to

ferment a variety of cheap, raw materials, and high citric acid yield. 16

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Individual Undissociated Acids As Growth-Limiting Factors. Applied and Environmental
Microbiology, American Society for Microbiology, (2010).
12
   Iliana E. Sweis and Bryan C. Cressey, Potential role of the common food additive
manufactured citric acid in eliciting significant inflammatory reactions contributing to serious
disease states: A series for four case reports National Center for Biotechnology Information, U.S.
National Library of Medicine National Institutes of Health (August 9, 2018).
13
   Maria Papagianni, Advances in citric acid fermentation by Aspergillus niger: Biochemical
aspects, membrane transport and modeling, Biotechnology Advances, 25:244-263 (2007).
14
   Tushar Patel and Hiral Pandya, Citric Acid Production Fermentation Process, International
Journal of Advance Research and Innovative Ideas in Education 3 (2017): 3983-3991.
15
   Jianlong Wang, Enhancement of citric acid production by Aspergillus niger using n-dodecane
as an oxygen-vector, Process Biochemistry, 35 (10), 1079-1083. (2000).
16
   Citric Acid Production, supra.

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                               Consumers Seek Preservative-Free Foods

       32.     By representing the Products have “No Preservatives,” Defendant seeks to

 capitalize on consumers’ preference for less processed products with no preservatives. “[F]oods

 bearing ‘free-from’ claims are increasingly relevant to Americans, as they perceive the products

 as closely tied to health…84 percent of American free-from consumers buy free-from foods

 because they are seeking out more natural or less processed foods. In fact, 43 percent of

 consumers agree that free-from foods are healthier than foods without a free-from claim, while

 another three in five believe the fewer ingredients a product has, the healthier it is (59 percent).

 Among the top claims free-from consumers deem most important are trans-fat-free (78 percent)

 and preservative-free (71 percent).” 17

       33.     One study found that when consumers were asked to choose a product that was

 the closest to their understanding of what “natural” is based on product labels, consumers chose

 “No Preservatives” amongst other labels. 18

       34.     Consumers are also willing to pay more for the products with “No Preservatives”

 labels because of the perceived higher quality, health and safety benefits associated with such

 foods. According to Nielsen’s 2015 Global Health & Wellness Survey that polled over 30,000

 people online, 88 percent of Americans are willing to pay more for healthier foods. 19 This,




17
   See, Free-From Food Trends - US - May 2015, Mintel: World’s Leading Market Intelligence
Agency, http://www.mintel.com/press-centre/food-and-drink/84-of-americans-buy-free-from-
foods-because-they-believe-them-to-be-more-natural-or-less-processed (last visited November 3,
2021).
18
   Sajida Rahman, et al., Assessing consumers’ understanding of the term “Natural” on food
labeling, Journal of Food Science, Vol. 85, No. 6, 1891-1896. (2020).
19
   See, We Are What We Eat: Healthy Eating Trends Around the World, Nielson (Jan. 2015)
https://www.nielsen.com/wp-
content/uploads/sites/3/2019/04/Nielsen20Global20Health20and20Wellness20Report20-
20January202015-1.pdf (last visited on November 3, 2021).

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 coupled with the fact that global sales of healthy food products reached $1 trillion in 2017,

 according to Euromonitor, means consumers are eager and willing to pay more for food

 advertised and labeled as having “No Preservatives” like the Products. 20

       35.     Defendant’s practice of capitalizing on consumers’ preferences for healthier

 products is false and deceptive. This deception continues today, as consumers continue to

 purchase the Products under the mistaken belief that it is preservative-free based on Defendant’s

 false, deceptive, and misleading labeling and advertising of the Products as having “No

 Preservatives.”

       36.     Plaintiffs and other consumers of the Products made their purchase decisions in

 reliance upon Defendant’s advertised claims that that Products contain “No Preservatives.”

       37.     Plaintiff Simeone purchased the New York Bakery Five Cheese Texas Toast and

 Ultimate Garlic Texas Toast from a Stop & Shop store located in Hyde Park, New York in

 November 2020. Plaintiff Simeone paid approximately $3.99 for each of the Products. The

 Products were labeled as having no “No Preservatives” on the front of the Products’ packaging.

       38.     Plaintiff Jones purchased the New York Bakery Texas Toast with Real Garlic and

 Ultimate Garlic Texas Toast from a Target store located in Yonkers, New York in August 2021.

 Plaintiff Jones paid approximately $2.59 for the Product. The Product was labeled as having no

 “No Preservatives” on the front of the Product’s packaging.

       39.     Plaintiff Charney purchased the New York Bakery Parmesan Texas Toast, Texas

 Toast with Real Garlic, and the Ultimate Garlic Texas Toast from a Gristedes store, Ideal



20
   See, Health and Wellness the Trillion Dollar Industry in 2017: Key Research Highlights,
Euromonitor International,
https://blog.euromonitor.com/health-and-wellness-the-trillion-dollar-industry-in-2017-key-
research-highlights/ (last visited November 3, 2021).



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Market store, and/or Key Food stores in New York, New York before and during 2019-2020.

Plaintiff Charney paid approximately $2.50-$3.39 for each of the Products. The Products were

labeled as having no “No Preservatives” on the front of the Products’ packaging.

      40.        Plaintiffs and the Class reasonably and detrimentally relied upon the Products’

label representations by Defendant that the Products contain “No Preservatives.” Plaintiffs and

the Class would not have purchased the Products had they known that the Products contain

preservatives.

      41.        The Products are all manufactured by Defendant.

      42.        The Products are all sold at grocery and retail stores throughout New York.

      43.        The Products are all manufactured in the same facilities.

      44.        The Products all contain similar bread slices (i.e., thick, Texas toast) with

flavored spread.

      45.        The Products are all packed in opaque, 11.25 oz., rectangular cardboard boxes.

      46.        The Products are all labeled and advertised as containing “No Preservatives.”

      47.        The Products all include the preservative citric acid.

      48.        Consumers of the Products have been deceived in the same way.

      49.        Consumers of the Products have been injured in the same way.

      50.        Consumers of the Products have been damaged in the same way.

      51.        Defendant’s conduct threatens New York consumers by using intentionally

deceptive and misleading labels. Defendant’s conduct also threatens other companies, large and

small, who “play by the rules.” Defendant’s conduct stifles competition and has a negative

impact on the marketplace, and reduces consumer choice.

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      52.     There is no practical reason for false labeling and advertising of the Products,

other than to mislead consumers as to the presence of preservatives in the Products while

simultaneously providing Defendant with a financial windfall.

      53.     Plaintiffs make the allegations herein upon personal knowledge as to themselves

and their own acts and experiences, and as to all other matters, upon information and belief,

including investigation conducted by their attorneys.

      Similar Frozen Food Products that Do Not Contain Preservatives are Accurately

                                     Labeled by Competitors

      54.     Frozen foods products that do not contain preservatives, namely citric acid, are

accurately labeled as containing “No Preservatives” in the marketplace. For example,

Pepperidge Farm’s Texas Toast Made with Real Garlic & Parsley, Texas Toast Made with Real

5 Cheese, and Texas Toast Made with Real Mozzarella and Monterey Jack are accurately

labeled as having “No Preservatives,” and do not contain citric acid or any other preservative,

True and correct representations of the comparator product and its ingredient list are set forth

below as Figure 6.

Figure 6.




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     Similar Frozen Food Products that Contain Preservatives are Accurately Labeled by

                                          Competitors

         55.    Frozen food products that contain preservatives, such as citric acid, do not label

their products as having “No Preservatives.” For example, Walmart’s Great Value Garlic Texas

Toast contains the preservative citric acid in its spread and correctly does not include a “No

Preservatives” label, unlike Defendant’s Products. True and correct representations of the

comparator product and its ingredient list are set forth below as Figure 7.

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Figure 7.




       56.    Plaintiffs seek injunctive relief against Defendant for false and misleading

advertising in violation of New York General Business Law (“N.Y. GBL”) Sections 349 and

350. Defendant made and continues to make these false and misleading statements in its labeling

and advertising of the Product. Compliance with remedial statutes like those underlying this




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lawsuit will benefit Plaintiffs, the putative class, consumers, and the general public. Compliance

is the primary litigation objective of this lawsuit.

       57.      The false and misleading labeling and advertising of the Products violate the New

York General Business Law Sections 349 and 350 and the common law.

                                       CLASS ALLEGATIONS

       58.      Plaintiffs bring this action on their own behalf and on behalf of all other persons

similarly situated pursuant to Rule 23(a) of the Federal Rules of Civil Procedure. Plaintiffs seek

to represent a Class consisting of “All persons who purchased the Products in New York for

personal use and not for resale during the time period November 3, 2018 through the present

(“the Class Period”). Excluded from the Class are Defendant’s officers, directors, and

employees, and any individual who received remuneration from Defendant in connection with

that individual’s use or endorsement of the Products.”

       59.      Numerosity: The Class is so numerous that their individual joinder herein is

impracticable. On information and belief, the Class numbers in the hundreds of thousands or

more throughout the State of New York. The Class is sufficiently numerous because hundreds

of thousands of units of the Products have been sold in New York during the Class Period.

       60.      Commonality and Predominance: Common questions of law and fact exist as to

all Class members and predominate over questions affecting only individual Class members.

Common questions of law and fact include, but are not limited to, the following:

             a. Whether Defendant is responsible for the conduct alleged herein which was

                uniformly directed at all consumers who purchased the Products;

             b. Whether Defendant's misconduct set forth in this Complaint demonstrates that

                Defendant has engaged in unfair, fraudulent, or unlawful business practices with




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                respect to the advertising, marketing, and sale of its Products;

             c. Whether Defendant made false and/or misleading statements to Plaintiffs and the

                Class and the public concerning the contents of its Products;

             d. Whether Defendant's false and misleading statements concerning its Products

                were likely to deceive the public;

             e. Whether Defendant is liable to Plaintiff and the Class for violations of the New

                York consumer-protection law;

             f. Whether Plaintiffs and the Class are entitled to money damages;

             g. Whether Plaintiffs and the Class are entitled to declaratory and injunctive relief;

                and,

             h. Whether Plaintiffs and the Class are entitled to restitution from Defendant;

             i. Whether Defendant is liable to Plaintiffs and the Class for unjust enrichment; and,

             j. Whether Defendant is liable to Plaintiffs and the Class for breach of express

                warranty.

       61.      Typicality: Plaintiffs’ claims are typical of the claims of the Class in that Plaintiffs

and the Class was susceptible to the same deceptive, misleading conduct and purchased

Defendant’s Products. Plaintiffs and the Class have suffered injury in fact and have lost money

as a result of Defendant’s false representations. Plaintiffs and the Class each purchased the

Products under the false belief that the Products were free of preservatives. Plaintiffs and the

Class relied upon Defendant’s packaging and would not have purchased the Products if they had

known that the Products contained preservatives.

       62.       Superiority: A class action is superior to other available methods for fair and

efficient adjudication of this controversy. The expense and burden of individual litigation would



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make it impracticable or impossible for the Class to prosecute their claims individually. The trial

and litigation of Plaintiffs’ claims are manageable. Individual litigation of the legal and factual

issues raised by Defendant’s conduct would increase delay and expense to all parties and the

court system. The class action device presents far fewer management difficulties and provides

the benefits of a single, uniform adjudication, economies of scale, and comprehensive

supervision by a single court.

       63.      Adequacy: Plaintiffs will fairly and adequately represent and protect the interests

of the Class. Plaintiffs have retained competent and experienced counsel in class action and

other complex litigation.

       64.     Defendant has acted on grounds generally applicable to the entire Class, thereby

making final injunctive relief and/or corresponding declaratory relief appropriate with respect to

the Class as a whole. The prosecution of separate actions by individual Class members would

create the risk of inconsistent or varying adjudications with respect to individual Class members

that would establish incompatible standards of conduct for Defendant.

       65.     Absent a class action, Defendant will likely retain the benefits of their

wrongdoing. Because of the small size of the individual Class members’ claims, few, if any,

Class members could afford to seek legal redress for the wrongs complained of herein. Absent

a representative action, the Class will continue to suffer losses and Defendant will be allowed to

continue these violations of law and to retain the proceeds of its ill-gotten gains.

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                                     FIRST CAUSE OF ACTION

               VIOLATION OF NEW YORK GENERAL BUSINESS LAW § 349

                           (On Behalf of Plaintiffs and the Class Members)

        66.     Plaintiffs repeat and reallege each and every allegation contained in all the

foregoing paragraphs as if fully set forth herein.

        67.     New York General Business Law Section 349 (“N.Y. GBL § 349”) declares

unlawful “[d]eceptive acts or practices in the conduct of any business, trade, or commerce or in

the furnishing of any service in this state.”

        68.     The conduct of Defendant alleged herein constitutes recurring, “unlawful”

deceptive acts and practices in violation of N.Y. GBL § 349, and as such, Plaintiffs and the Class

members seek monetary damages and the entry of preliminary and permanent injunctive relief

against Defendant, enjoining them from inaccurately describing, labeling, marketing, and

promoting the Products.

        69.     There is no adequate remedy at law.

        70.     Defendant misleadingly, inaccurately, and deceptively advertise and market its

Products to consumers.

        71.     Defendant's improper consumer-oriented conduct—including labeling and

advertising the Products as containing “No Preservatives,” when in fact it contains the well-

documented preservative, citric acid—is misleading in a material way in that it, inter alia,

induced Plaintiffs and the Class members to purchase and pay a premium for Defendant's

Products and to use the Products when they otherwise would not have. Defendant made its untrue

and/or misleading statements and representations willfully, wantonly, and with reckless

disregard for the truth.




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       72.     Plaintiffs and the Class members have been injured inasmuch as they paid a

premium for Products that—contrary to Defendant's representations—were not preservative-

free. Accordingly, Plaintiffs and the Class members received less than what they bargained

and/or paid for.

       73.     Defendant’s advertising and Products’ packaging and labeling induced Plaintiffs

and the Class members to buy Defendant’s Products and to pay a premium price for them.

       74.     Defendant’s deceptive and misleading practices constitute a deceptive act and

practice in the conduct of business in violation of N.Y. GBL §349(a) and Plaintiffs and the Class

members have been damaged thereby.

       75.     As a result of Defendant’s recurring, “unlawful” deceptive acts and practices,

Plaintiffs and the Class members are entitled to monetary, compensatory, treble and punitive

damages, injunctive relief, restitution and disgorgement of all moneys obtained by means of

Defendant's unlawful conduct, interest, and attorneys’ fees and costs.

                                SECOND CAUSE OF ACTION

             VIOLATION OF NEW YORK GENERAL BUSINESS LAW § 350

                           (On Behalf of Plaintiffs and the Class Members)

       76.     Plaintiffs repeat and reallege each and every allegation contained in all the

foregoing paragraphs as if fully set forth herein.

       77.     N.Y. GBL § 350 provides, in part, as follows:

                       False advertising in the conduct of any business, trade or commerce or in
                       the furnishing of any service in this state is hereby declared unlawful.

       78.     N.Y. GBL § 350a(1) provides, in part, as follows:

                       The term ‘false advertising, including labeling, of a commodity, or of the
                       kind, character, terms or conditions of any employment opportunity if such
                       advertising is misleading in a material respect. In determining whether any



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                        advertising is misleading, there shall be taken into account (among other
                        things) not only representations made by statement, word, design, device,
                        sound or any combination thereof, but also the extent to which the
                        advertising fails to reveal facts material in the light of such representations
                        with respect to the commodity or employment to which the advertising
                        relates under the conditions proscribed in said advertisement, or under
                        such conditions as are customary or usual . . .


        79.     Defendant’s labeling and advertisements contain untrue and materially

misleading statements concerning Defendant’s Products inasmuch as they misrepresent that the

Products contain “No Preservatives,” when in reality, it contains the well-documented

preservative, citric acid.

        80.     Plaintiffs and the Class members have been injured inasmuch as they relied upon

the labeling, packaging, and advertising and paid a premium for the Products which—contrary

to Defendant’s representations—were not preservative-free. Accordingly, Plaintiffs and the

Class members received less than what they bargained and/or paid for.

        81.     Defendant’s Products’ advertising, packaging, and labeling induced Plaintiffs and

the Class members to buy Defendant’s Products.

        82.     Defendant made its untrue and/or misleading statements and representations

willfully, wantonly, and with reckless disregard for the truth.

        83.     Defendant’s conduct constitutes multiple, separate violations of N.Y. GBL § 350.

        84.     Defendant made the material misrepresentations described in this Complaint in

Defendant’s advertising, and on the Products’ packaging and labeling.

        85.     Defendant’s material misrepresentations were substantially uniform in content,

presentation, and impact upon consumers at large. Moreover, all consumers purchasing the

Products were and continue to be exposed to Defendant's material misrepresentations.




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       86.     As a result of Defendant’s recurring, “unlawful” deceptive acts and practices,

Plaintiffs and the Class members are entitled to monetary, compensatory, treble and punitive

damages, injunctive relief, restitution and disgorgement of all moneys obtained by means of

Defendant's unlawful conduct, interest, and attorneys’ fees and costs.

                                 THIRD CAUSE OF ACTION

                 COMMON LAW BREACH OF EXPRESS WARRANTY

                       (On Behalf of Plaintiffs and the Class Members)

       87.     Plaintiffs repeat and reallege all the allegations of the previous paragraphs and

incorporate the same as if set forth herein at length.

       88.     Defendant expressly warranted on each and every Product that it contains “No

Preservatives.” Defendant’s claims constitute an affirmation of fact, promise, and/or description

of the goods, the Products, that became part of the basis of the bargain and created an express

warranty that the Products would conform to the stated promise. Plaintiffs placed importance on

Defendant’s claims.

       89.     All conditions precedent to Defendant’s liability under this contract have been

performed by Plaintiffs and the Class.

       90.     Defendant breached the terms of this contract, including the express warranties,

with Plaintiffs and the Class by not providing Products that conform to the advertisement.

       91.     Defendant’s express warranty that the Products had “No Preservatives” was

breached because the Products contained citric acid, a well-known preservative.

       92.     Defendant therefore breached the terms of its express warranty with Plaintiffs and

the Class by not providing Products that conform to the advertising claim that the Products have

“No Preservatives.”




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         93.   As a result of Defendant’s breach of express warranty, Plaintiffs and the Class

have been damaged in the amount to be determined at trial.

                                FOURTH CAUSE OF ACTION

                          COMMON LAW UNJUST ENRICHMENT

                       (On Behalf of Plaintiffs and the Class Members)

         94.   Plaintiffs repeat and reallege the allegations set forth above, and incorporate the

same as if set forth herein at length.

         95.   By means of Defendant’s wrongful conduct alleged herein, Defendant knowingly

sold the Products to Plaintiffs and members of the Class in a manner that was unfair,

unconscionable, and oppressive.

         96.   Defendant knowingly received and retained wrongful benefits and funds from

Plaintiffs and members of the Class. In so doing, Defendant acted with conscious disregard for

the rights of Plaintiffs and members of the Class.

         97.   As a result of Defendant’s wrongful conduct as alleged herein, Defendant has

been unjustly enriched at the expense of, and to the detriment of, Plaintiffs and members of the

Class.

         98.   Defendant’s unjust enrichment is traceable to, and resulted directly and

proximately from, the conduct alleged herein.

         99.   Under the common law doctrine of unjust enrichment, it is inequitable for

Defendant to be permitted to retain the benefits it received, without justification, from selling

the Products to Plaintiffs and members of the Class in an unfair, unconscionable, and oppressive

manner. Defendant’s retention of such funds under such circumstances making it inequitable to

do so constitutes unjust enrichment.




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       100.    The financial benefits derived by Defendant rightfully belong to Plaintiffs and

members of the Class. Defendant should be compelled to return in a common fund for the benefit

of Plaintiffs and members of the Class all wrongful or inequitable proceeds received by

Defendant.

       101.    Plaintiffs and members of the Class have no adequate remedy at law.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

pray for judgment and relief on all Causes of Action as follows:

               A.         An order certifying the Class under Rule 23 of the Federal Rules of

               Civil Procedure and naming Plaintiffs as representatives of the Class and

               Plaintiffs’ attorneys as Class Counsel to represent the Class;

               B.         For an order enjoining Defendant from continuing to label and

               advertise the Products as challenged herein;

               C.         For an order declaring the Defendant’s conduct violates the statutes

               referenced herein;

               D.         For an order finding in favor of Plaintiffs and the Class on all counts

               asserted herein;

               E.         For actual, compensatory, statutory, punitive damages and/or treble

               damages in amounts to be determined by the Court and/or jury;

               F.         For pre- and post-judgment interest on all amounts awarded, as

               allowable by law,

               G.         For an order of restitution and all other forms of equitable monetary

               relief;




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                  H.         For an order awarding Plaintiffs and the Class their reasonable

                  attorneys’ fees and expenses and costs of suit; and

                  I.         Granting such other and further relief as the Court may deem just

                  and proper.

                                   JURY TRIAL DEMANDED

        Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a jury trial on all

triable issues.

Dated: November 3, 2021                                 Respectfully submitted,

                                                        CLARKSON LAW FIRM, P.C.

                                                        By: _/s/ Ryan J. Clarkson________
                                                        Ryan J. Clarkson, Esq.
                                                        Bahar Sodaify, Esq.
                                                        (pro hac vice forthcoming)
                                                        Christina N. Mirzaie, Esq.
                                                        (pro hac vice forthcoming)

                                                        Attorneys for Plaintiffs




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